          Case 1-17-43007-ess              Doc 21      Filed 07/28/17        Entered 07/28/17 13:14:53


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                                                                                    July 28, 2017
   Via: ECF

   Hon. Elizabeth S. Stong
   United States Bankruptcy Judge
   U.S. Bankruptcy Court, EDNY
   Conrad B. Duberstein Courthouse
   271-C Cadman Plaza East - Courtroom 3585
   Brooklyn, NY 11201-1800

   Re:      Angela Cove
            Case Number: 17-43007−ESS

    Honorable Judge:

            Our office represents Angela Cove (the “Debtor”) in the above referenced action.

           On July 7, 2017, the debtor made a request to enter into a Loss Mitigation Program with
   creditor FCI Lender with reference to the Loan Number 9718 (Docket #13). On the same day,
   the Debtor revised its request to enter into the Loss Mitigation Program with FCI Lender (Docket
   #16).
           This is to clarify that in Docket # 13, the Debtor by mistake put wrong Loan Number of
   9713 in its Loss Mitigation Request. The correct Loan Number is 9718 which is given in the
   Loss Mitigation Request filed as Docket # 16.

   Thank you for your courtesy.

   Very truly yours,


   /s/ Rashmi Attri
   _________________________
   Rashmi Attri, Esq.
